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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TAWANA L. CARTER,

     Plaintiff,

v.
                                                    Case No: 1:19-cv-04863
SELECT PORTFOLIO SERVICING,
INC., and WELLS FARGO BANK,
N.A., AS TRUSTEE FOR FREEMONT
HOME LOAN TRUST 2005 RR3,
MORTGAGE BACKED CERTIFICATE
SERIES 2005 RR3,1

     Defendants.


                      NOTICE OF SUPPLEMENTAL FILING

      COME NOW, Select Portfolio Servicing, Inc. (“SPS”) and Wells Fargo

Bank, National Association, as Trustee, on behalf of the certificateholders of

Securitized Asset Backed Receivables LLC 2005-FR3, Mortgage Pass-Through

Certificates, Series 2005-FR3 (“Wells Fargo”), and file this Notice of

Supplemental       Filing   attaching   the   complete   record   of   Case   Number

2019CV327392 styled as Tawana L. Carter v. Select Portfolio Servicing, Inc., and
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  This Defendant is incorrectly identified in the style of this case. The correct party
to this case is Wells Fargo Bank, National Association, as Trustee, on behalf of the
certificateholders of Securitized Asset Backed Receivables LLC 2005-FR3,
Mortgage Pass-Through Certificates, Series 2005-FR3.
                                          1
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Wells Fargo Bank, N.A., as Trustee, for Freemont Home Loan Trust 2005 RR3,

Mortgage Backed Certificate Series 2005 RR3, in the Superior Court of Fulton

County, State of Georgia (the “State Court Action”). A true and correct copy of all

pleadings and records from the State Court Action are attached hereto as Exhibit

“A”.

       Respectfully submitted, this 30th day of October 2019.


                                /s/ Bret J. Chaness
                                BRET J. CHANESS (GA Bar No. 720572)
                                COREY ROTHSCHILD (GA Bar No. 604149)
                                RUBIN LUBLIN, LLC
                                3145 Avalon Ridge Place, Suite 100
                                Peachtree Corners, GA 30071
                                (678) 281-2730 (Telephone)
                                (404) 921-9016 (Facsimile)
                                bchaness@rubinlublin.com
                                crothschild@rubinlublin.com

                                Attorneys for Defendants




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                          FONT CERTIFICATION

      In accordance with LR 7.1(D), the undersigned counsel hereby certifies that

the within and foregoing was prepared using Times New Roman, 14-point font

pursuant to LR 5.1(B).

      This 30th day of October 2019

                                      /s/ Bret J. Chaness
                                      BRET J. CHANESS (GA Bar No. 720572)




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have, this day served the Plaintiff with the within and

foregoing by placing a true and correct copy of same in the United States Mail,

with first-class prepaid postage affixed thereto, properly addressed as follows:

      Tawana Carter
      115 Parkside Close
      Alpharetta, GA 30022

      This 30th day of October 2019.

                                       /s/ Bret J. Chaness
                                       BRET J. CHANESS (GA Bar No. 720572)




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